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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    STRIKE, LLC, et al.1                                          )   Case No. 21-90054 (DRJ)
                                                                  )
                          Debtors.                                )   (Jointly Administered)
                                                                  )

                  DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN
               ORDER APPROVING THE SETTLEMENT AGREEMENT WITH
               MEARS GROUP, INC. PURSUANT TO BANKRUPTCY RULE 9019

              Emergency relief has been requested. Relief is requested not later than January 27, 2022
              (prevailing Central Time).

              If you object to the relief requested or you believe that emergency consideration is not
              warranted, you must appear at the hearing if one is set, or file a written response prior to
              the date that relief is requested in the preceding paragraph. Otherwise, the Court may
              treat the pleading as unopposed and grant the relief requested.

              A hearing will be conducted on this matter on January 27, 2022 at 11:00 a.m. (prevailing
              Central Time) in Courtroom 400, 4th Floor, 515 Rusk, Houston, Texas 77002.
              Participation at the hearing will only be permitted by an audio and video connection.

              Audio communication will be by use of the Court’s dial-in facility. You may access the
              facility at (832) 917-1510. Once connected, you will be asked to enter the conference room
              number. Judge Jones’s conference room number is 205691. Video communication will be
              by use of the GoToMeeting platform. Connect via the free GoToMeeting application or
              click the link on Judge Jones’s home page. The meeting code is “Judge Jones”. Click the
              settings icon in the upper right corner and enter your name under the personal
              information setting.

              Hearing appearances must be made electronically in advance of both electronic and in-
              person hearings. To make your appearance, click the “Electronic Appearance” link on
              Judge Jones’s home page. Select the case name, complete the required fields and click
              “Submit” to complete your appearance.




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
number, are: Strike, LLC (2120); Strike HoldCo, LLC (0607); Delta Directional Drilling, LLC (9896); Strike Global
Holdings, LLC (4661); Capstone Infrastructure Services, LLC (0161); and Crossfire, LLC (7582). The location of
Debtor Strike, LLC’s principal place of business and the Debtors’ service address is: 1800 Hughes Landing
Boulevard, Suite 500, The Woodlands, Texas 77380. More information about this case may be obtained on the
website of the Debtors’ claims and noticing agent at https://dm.epiq11.com/StrikeLLC.


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        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

as follows in support of this motion (this “Motion”):

                                          RELIEF REQUESTED

        1.       The Debtors seek entry of an order, substantially in the form attached hereto (the

“Order”), authorizing and approving a settlement with Mears Group, Inc. (“Mears”) on the terms

set forth in the settlement agreement and release attached as Exhibit 1 to the Order (the

“Settlement Agreement”).2

                                     JURISDICTION AND VENUE

        2.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core

proceeding under 28 U.S.C. § 157(b). The Debtors confirm their consent to the entry of a final

order by the Court. Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The predicates for the relief requested herein are sections 105(a) of title 11 of the

United States Code (the “Bankruptcy Code”), rule 9019 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rule 9013-1 of the Local Rules for the Southern District

of Texas (the “Bankruptcy Local Rules”).

                                              BACKGROUND

        4.       Strike, LLC and Mears Group, Inc. (“Mears”) entered into an agreement in August

2020 pursuant to which Mears performed services on a construction project for one of the Debtors’

customers. Mears commenced an arbitration proceeding styled Mears Group, Inc. -vs- Strike, LLC

(Case Number: 01-21-0001-1668) in February 2021 related to nonpayment. Mears is seeking



2
 Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Settlement
Agreement (including the Term Sheet).

                                                         2
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payment of all amounts due under the agreement. Mears also raised an informal objection to the

sale of Debtors’ assets.

        5.       The Debtors deny all liability and have asserted counterclaims against Mears for

alleged damage caused to the project and disputes the Mears’ informal objection. Nevertheless,

the litigation is not without risk. The Debtors have already incurred substantial discovery costs,

and the investigation of and defense against Mears’s claims has required the attention of the

Debtors’ officers and employees whose time is already stretched focusing on preserving the value

of the Debtors’ business and on the administration of these chapter 11 cases. Litigation will result

in additional expense to the Debtors’ estates. The Debtors believe that entry into a settlement on

the terms set forth in the Settlement Agreement, which was negotiated extensively in good faith,

reflects an outcome that is squarely within the range of reasonable outcomes and is a sound

exercise of their business judgment. The DIP Secured Parties3 and the Official Committee of

Unsecured Creditors (the “Committee”) support the settlement reflected in this Motion.

                                           BASIS FOR RELIEF

        6.       Bankruptcy Rule 9019(a) provides, in pertinent part, “[o]n motion . . . and after

notice and a hearing, the court may approve a compromise or settlement.” See Fed. R. Bankr. P.

9019(a). Section 105(a) of the Bankruptcy Code further provides:

        The court may issue any order, process, or judgment that is necessary or appropriate
        to carry out the provisions of this title. No provision of this title providing for the
        raising of an issue by a party in interest shall be construed to preclude the court
        from, sua sponte, taking any action or making any determination necessary or
        appropriate to enforce or implement court orders or rules, or to prevent an abuse of
        process.



3
         The term “DIP Secured Parties” is defined in the Debtors’ Emergency Motion for Interim and Final
Orders (I) Authorizing the Debtors to (A) Obtain Senior Secured Priming Superpriority Postpetition Financing and
(B) Use Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the
Automatic Stay, (IV) Scheduling A Final Hearing, and (V) Granting Related Relief [Docket No. 79].

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See 11 U.S.C. § 105(a).

       7.      Settlements and compromises are a “normal part of the process of reorganization,”

and assist in “administering [bankruptcy] proceedings in an economical and practical manner.”

Case v. Los Angeles Lumber Prods. Co., 308 U.S. 106, 130 (1939); Protective Comm. of Indep.

Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968). Bankruptcy

Courts generally favor compromises as they are “oftentimes desirable and wise methods of

bringing to a close proceedings otherwise lengthy, complicated and costly.” Matter of Jackson

Brewing Co., 624 F.2d 599, 602 (5th Cir. 1980).

       8.      To obtain approval of a settlement, the movant need only show that it falls within

the “range of reasonable litigation alternatives.” In re Roqumore, 393 B.R. 474, 480 (Bankr. S.D.

Tex. 2008). It does not require a trial or evidentiary hearing to adjudicate the issues being settled,

and a bankruptcy court may give weight to the “informed judgments of the . . . debtor-in-

possession and their counsel that a compromise is fair and equitable, and consider the competency

and experience of counsel who support the compromise.” Drexel Burnham Lambert Group, 134

B.R. 499, 505 (Bankr. S.D.N.Y. 1991).

       9.      In determining whether a proposed settlement is within the range of reasonable

alternatives, bankruptcy courts in the Fifth Circuit may consider the following factors: (1) the

probability of success in the litigation, with due consideration for the uncertainty in fact and law,

(2) the complexity and likely duration of the litigation and any attendant expense, inconvenience,

and delay, including the difficulties, if any, to be encountered in the matter of collection, (3) the

paramount interest of the creditors and a proper deference to their respective views, (4) the extent

to which the settlement is truly the product of arm’s-length bargaining and not fraud or collusion,




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and (5) all other factors bearing on the wisdom of the compromise. See Cadle v. Mims (In re

Moore), 608 F.3d 253, 264-65 (5th Cir. 2010).

       10.     The settlement falls well within the range of reasonableness and is a sound exercise

of the Debtors’ business judgment. Mears’s and Debtors’ respective claims, objections and

counterclaims each raise complex and fact-intensive issues of responsibility for damage in a large

pipeline project. The Settlement Agreement reflects a reasonable apportionment of the litigation

risk, as determined by sophisticated parties represented by experienced counsel. While probability

of success is unclear, the cost of litigation is certain. The Debtors have already incurred substantial

costs related to discovery in connection with investigation of and defense against Mears’s claims.

The Debtors’ officers and employees who are otherwise focused on preserving the value of the

Debtors’ business and on administering these chapter 11 cases have already had to devote

significant time to this matter. The Debtors are seeking to eliminate further considerable expense

and preserve value for their stakeholders. The settlement is the product of good faith, arms’ length

negotiations and is supported by all major stakeholders in the cases. The Court should grant the

Motion.

                               EMERGENCY CONSIDERATION

       11.     The Debtors request emergency consideration of this Motion. The parties have

agreed to the Settlement Agreement to, among other things, resolve Mears’s objection to the

Debtors’ motion for authorization to sell substantially all of their assets.          The Settlement

Agreement, in turn, is conditioned upon Court approval at or before the hearing related to that sale

motion. Absent approval on that timeline, Mears’s informal objection to the sale process will be

preserved in all respects to the disruption of the sale process. The Debtors, the Committee, and




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the DIP Secured Parties support emergency consideration so that the Court may address the Motion

prior to the Court’s consideration of the Debtors’ sale motion.

                 WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h)

       12.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfied Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                             NOTICE

       13.     The Debtors will provide notice of this Motion to: (a) the Office of the United States

Trustee for the Southern District of Texas; (b) the Committee; (c) the Prepetition Senior Loan

Agent; (d) the Prepetition Junior Loan Agent; (e) AIP and the DIP Secured Parties and their

counsel, Stroock & Stroock & Lavan LLP; (f) the Office of the United States Attorney for the

Southern District of Texas; (g) the state attorneys general for states in which the Debtors conduct

business; (h) the Internal Revenue Service; (i) the United States Securities and Exchange

Commission; (j) the Environmental Protection Agency and similar state environmental agencies

for states in which the Debtors conduct business; and (k) any party that has requested notice

pursuant to Bankruptcy Rule 2002. In view of the nature of the relief requested, no other or further

notice need be provided.




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         The Debtors respectfully request that the Court enter the Order, granting the relief

 requested in this Motion and such other and further relief as the Court deems appropriate under

 the circumstances.

Houston, Texas
January 26, 2022

/s/ Matthew D. Cavenaugh
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                                    Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                        /s/ Matthew D. Cavenaugh
                                                        Matthew D. Cavenaugh



                                     Certificate of Service

        I certify that on January 26, 2022, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                        /s/ Matthew D. Cavenaugh
                                                        Matthew D. Cavenaugh
